      Case 4:20-cv-03033-JST Document 127 Filed 03/14/24 Page 1 of 8




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15 ATTORNEYS FOR ALL PLAINTIFFS

16                                  UNITED STATES DISTRICT COURT

17       NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

18
19 JANE ROE, an individual; MARY ROE,                    Case No. 3:24-cv-01562-DMR
   an individual; SUSAN ROE, an
20 individual; JOHN ROE, an individual;                  PLAINTIFFS’ ADMINISTRATIVE
   BARBARA ROE, an individual;                           MOTION TO CONSIDER WHETHER
21 PHOENIX HOTEL SF, LLC, a                              CASES SHOULD BE RELATED
   California limited liability company;
22 FUNKY FUN, LLC, a California limited
   liability company; and 2930 EL
23 CAMINO, LLC, a California limited                     Date Filed: 03/14/2024
   liability company,                                    Trial Date: Unassigned
24
                            Plaintiffs,
25
           v.
26
   CITY AND COUNTY OF SAN
27 FRANCISCO, a California public entity,

28                                  Defendants.
                                                     1
      PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE
                                      RELATED
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 1

 2
           PLEASE TAKE NOTICE that, pursuant to Civil Local Rule 3-12 and Civil
 3
     Local Rule 7-11, Plaintiffs Jane Roe, et al., moves this Court for an order finding that
 4
     this case, Jane Roe, et al. v. City and County of San Francisco (Case No. 3:24-cv-
 5
     01562-DMR) (“Jane Roe”), filed on March 14, 2024, is related to College of the Law,
 6
     San Francisco, et al. v. City and County of San Francisco, Case No. 4:20-cv-03033-
 7
     JST (“UC Law SF”). 1
 8
           The plaintiffs in UC Law SF brought suit against the City and County of San
 9
     Francisco (the “City”) seeking injunctive relief to address open-air drug dealing and
10
     usage, sidewalk encampments and obstructions, and other harms and nuisances that
11
     were prevalent in the Tenderloin. In Jane Roe, Plaintiffs bring suit against the City
12
     and seek similar injunctive relief. The Jane Roe Plaintiffs allege that City’s de facto
13
     treatment of the Tenderloin as San Francisco’s “containment zone” for illegal
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     narcotics activity and associated harms has resulted in the sidewalks and other
15
     public spaces in the neighborhood becoming dangerous, unsanitary, and inaccessible.
16
     The allege violations of the Americans with Disabilities Act, public and private
17
     nuisance, civil rights violations and other causes of action.
18
           Civil Local Rule 3-12(b) states that “whenever a party knows or learns that an
19
     action, filed in or removed to this district is (or the party believes the action may be)
20
     related to an action which is or was pending in this District as defined in Civil L.R. 3-
21
     12(a), the party must promptly file in the lowest numbered case an Administrative
22
     Motion to Consider Whether Cases Should be Related….” Actions are related when
23
     “(1) The actions concern substantially the same parties, property, transaction, or
24
     event; and (2) it appears likely that there will be unduly burdensome duplication of
25
     labor and expense or conflicting results if the cases are conducted before different
26

27
     1 This Court previously found UC Law SF was related to Giosso v. City and County of

28 San Francisco, 4:20-cv-04255-JST, (“Giosso”) and Harrison v. City and County of San
   Francisco, 4:20-cv-05178-JST (“Harrison”).
                                            2
        PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE
                                        RELATED
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1 Judges.” (Civil Local Rule 3-12(a).) Jane Roe and UC Law SF meet these criteria.

2          A.     Jane Roe Concerns Substantially the Same Parties, Property,
                  Transaction or Event as UC Law SF
3
           Both the Jane Roe case and the UC Law SF case allege that the City contains
4
     and confines illicit drug dealing and usage, illegal open-air markets, loitering, and
5
     injurious behaviors associated with those activities to the Tenderloin. Jane Roe and
6
     UC Law SF both concern the effect these acts, omissions and policies have on the
7
     same public walkways and spaces in the Tenderloin. Further, Jane Roe and UC Law
8
     SF concern the same defendant, CCSF. These factors support treating the actions as
9
     related.
10
           B.     An Unduly Burdensome Duplication of Labor and Expense or
11                Conflicting Would Likely Result if the Cases are Conducted
                  Before Different Judges
12
           Given the similar factual and legal backgrounds of the Jane Roe and UC Law
13
     SF cases, relation of the cases would conserve substantial judicial resources and
14
     reduce the possibility of conflicting results. The issues raised in the motion by the UC
15
     Law SF plaintiffs to enforce the stipulated injunction in their case overlap with the
16
     issues raised in the Jane Roe case. As this Court is already familiar with these topics,
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     efficiency would be served by relating the cases. This would also avoid the risk of
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     conflicting results that might result if these cases were conducted before different
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     judges.
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       PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE
                                       RELATED
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 1        For the foregoing reasons, Plaintiffs respectfully request that the Court find

 2 that Jane Roe is related to UC Law SF and be transferred to this Court.

 3

 4 Dated: March 14, 2024              W ALKUP , M ELODIA , K ELLY & S CHOENBERGER

 5                                    Kline & Specter, P.C.
 6

 7                                    By:       /S/ Matthew D. Davis
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 8                                          RICHARD H. SCHOENBERGER
 9                                          MATTHEW D. DAVIS
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14
                              CERTIFICATE OF SERVICE
15
          I, Matthew D. Davis, Esquire, hereby certify that I electronically filed the
16

17 following document by using the CM/ECF system on March 14, 2024.

18
                                      By:       /S/ Matthew D. Davis
19                                          MATTHEW D. DAVIS
20

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      PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE
                                      RELATED
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 1                                 PROOF OF SERVICE

 2                Jane Roe, et al. v. City and County San Francisco
                USDC – Northern California Case No. 3:24-cv-01562-DMR
 3
         At the time of service, I was over 18 years of age and not a party to this action.
 4 I am employed in the county where the mailing took place, My business address is
   650 California Street, 26th Floor, City and County of San Francisco, CA 94108-2615.
 5
         On the date set forth below, I caused to be served true copies of the following
 6 document(s) described as

 7    PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     CASES SHOULD BE RELATED; DECLARATION OF MATTHEW D. DAVIS;
 8                       [PROPOSED] ORDER

 9        to:

10 Hastings, et al. v. City and County San
   Francisco, Case No. 4:20-cv-3033-JST
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       PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE
                                       RELATED
      Case 4:20-cv-03033-JST Document 127 Filed 03/14/24 Page 6 of 8




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      PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE
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       PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE
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      Case 4:20-cv-03033-JST Document 127 Filed 03/14/24 Page 8 of 8




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5        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
  document(s) to be sent from e-mail address kbenzien@walkuplawoffice.com to the
6 persons at the e-mail addresses listed in the Service List. I did not receive, within a
  reasonable time after the transmission, any electronic message or other indication
7 that the transmission was unsuccessful.

8      I declare under penalty of perjury under the laws of the United States of
  America that the foregoing is true and correct and that I am employed in the office of
9 a member of the bar of this Court at whose direction the service was made.

10       Executed on March __, 2024, at San Francisco, California.
11

12
                                              Kirsten Benzien
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                                      RELATED
